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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                             Case No. 20-21553-Civ-COOKE/GOODMAN



          PATRICK GAYLE, et al.,

                 Petitioners,

          vs.

          MICHAEL W. MEADE, et al.,


                 Respondents.
          ______________________________/

                                         OMNIBUS ORDER
          THIS MATTER is before the Court on Petitioners’ Emergency Motion for Temporary
   Restraining Order and Motion for Preliminary Injunction for Proposed Class, ECF No. 4,
   Petitioners’ Expedited Motion for Class Certification, ECF No. 81, and Petitioners’ Motion
   to Compel Compliance with the Court’s April 30, 2020, Temporary Restraining Order, ECF
   106.
          Petitioners are immigration detainees being held at three detention centers in South
   Florida. Petitioners assert that Respondents failure to protect them from infection with the
   coronavirus disease (“COVID-19”) while detained violates their constitutional rights.
   Petitioners also assert that they are at imminent risk of contracting COVID-19 because their
   detention renders them unable to comply with the Centers for Disease Control and
   Prevention’s (“CDC”) guidelines. Accordingly, Petitioners request, inter alia, emergency
   injunctive relief in the form of release from government custody, protective health measures
   that help prevent transmission of COVID-19, and to enjoin the transfer of the detainees to
   any other detention facility.




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          In addition, Petitioners are filing on behalf of a putative class of approximately 1,400
   individuals in civil immigration detention at three Florida detention centers pursuant to
   Federal Rules of Civil Procedure 23(a) and (b)(2).
          After considering the Motions and evidence submitted by the parties, arguments
   presented at the hearings held May 27, 2020 and June 2, 2020, and all relevant law, the Court
   GRANTS in part and DENIES in part Petitioners’ Application, ECF No. 4, as a preliminary
   injunction, GRANTS in part and DENIES in part Petitioners’ Expedited Motion for Class
   Certification, ECF No. 81, and GRANTS Petitioners’ Motion to Compel Compliance with
   the Court’s April 30, 2020 Temporary Restraining Order, ECF 106.

                                           I.   BACKGROUND

          On April 13, 2020, 34 1 civil immigration detainees (hereinafter “Petitioners”) filed the
   instant action alleging that they are being held by the Miami Field Office of Immigration and
   Customs Enforcement (hereinafter “ICE”) and housed at three detention centers—the Krome
   Detention Center in Miami (“Krome”), the Broward Transitional Center in Pompano Beach
   (“BTC”), and the Glades County Detention Center in Moore Haven (“Glades”)2.
       Petitioners all claim to be at imminent risk of contracting COVID-19 as a result of their
   inability to abide by the CDC’s Guidelines and state and local directives during their
   continued detention. Each Petitioner further asserts that they are uniquely vulnerable to
   COVID-19 due to a range of serious chronic ailments including, inter alia, cancer, human
   immunodeficiency virus, and various respiratory issues. ECF Nos. 7; 8.




   1
     The named Petitioners are 58 individuals detained by the U.S. Immigration and Customs
   Enforcement (“ICE”) on civil immigration charges. At the onset, 34 petitioners filed the
   instant action. Petitioners subsequently filed an Unopposed Motion, ECF No. 60, to add
   named petitioners. The Magistrate Judge granted the Motion, amending this action to include
   24 additional petitioners. ECF No. 65.
   2
     As previously discussed in the Court’s Order dated April 30, 2020, (ECF No. 76 at 3, n.9),
   this Court has jurisdiction to review claims related to conditions of confinement at Glades.
   See Masingene v. Martin, 424 F. Supp. 3d 1298, 1303 (S.D. Fla. 2020) (“[A] district court acts
   within its respective jurisdiction. . .as long as the custodian can be reached by service of
   process.”)(internal citations omitted).
                                                     2
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       A. Procedural History

          On April 13, 2020, Petitioners filed a Petition for Writ of Habeas Corpus pursuant to
   28 U.S.C. § 2241, ECF No. 1, and an Emergency Motion for Temporary Restraining Order
   (“TRO”) and Motion for Preliminary Injunction for Proposed Class (“Motion for
   TRO/Preliminary Injunction”), ECF No. 4, alleging that Respondents are not taking proper
   measures to prevent the transmission of COVID-19. Petitioners assert three claims: (1)
   violation of the Due Process Clause of the Fifth Amendment (violation of detention
   standards), (2) violation of the Due Process Clause of the Fifth Amendment (violation of right
   to reasonable safety), and (3) violation of the Due Process Clause of the Fifth Amendment
   (state-created danger). In support of the Motion for TRO/Preliminary Injunction, Petitioners
   submitted the following declarations 3:

       1. Declaration of Dr. Joseph Shin, MD, MSc (“Shin Declaration,” ECF No.1-2); and
       2. Declaration of Dr. Pedro J. Greer, Jr., MD, FACP, FACG (“Greer Declaration,” ECF
          No. 1-3).

          In response to Magistrate Judge Jonathan Goodman’s post-hearing administrative
   Orders, ECF Nos. 18; 19; 20, ICE submitted the following declarations:

       1. Declaration of Juan A. Lopez Vega, Assistant Field Office Director (“Vega
          Declaration,” ECF No. 30-1). 4
       2. Declaration of Liana J. Castano, Acting Officer in Charge of the Krome Service
          Processing Center. (“Castano Declaration,” ECF No. 33-1). 5

          On April 14, 2020, the Court referred the Motion for TRO/Preliminary Injunction to
   Magistrate Judge. ECF No. 14. On April 17, 2020, the Magistrate Judge held a hearing 6 and
   subsequently issued a 69-page report and recommendation (“R&R”) on the TRO concluding



   3
     Admittedly, neither Doctor has personally examined any of the detention centers at issue in
   this matter. (ECF No. 63 at 42.) Both Doctors relied in part on declarations submitted by
   Liana J. Castano.
   4
     The Vega Declaration discussed BTC.
   5
     The Castano Declaration discussed Krome and Glades.
   6
     All hearings in this matter have been conducted via remote video conference in light of the
   danger posed by COVID-19.
                                                    3
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   that the remedy of release is unavailable to the Detainees. (ECF No. 63 at 51-55). This Court
   issued a 14-day TRO instructing ICE to adhere to its own guidelines and the CDC’s guidelines
   in assessing and evaluating whether any of the Petitioners should be released. (ECF No. 76.)
   On May 2, 2020, the Court issued an Order clarifying, inter alia, that ICE is permitted to
   transfer detainees from the three facilities at issue only after first evaluating and assessing each
   detainee’s eligibility for release pursuant to ICE guidelines on the pandemic response. (ECF
   No. 78.)
          On May 5, 2020, Petitioners filed a Motion for Class Certification. (ECF No. 81.) That
   same day, the Court referred the Motion for Class Certification to the Magistrate Judge. (ECF
   No. 82.) On May 14, 2020, the Magistrate Judge held a hearing on the Motion for Class
   Certification. (ECF No. 98.)
          On May 15, 2020, the Court extended the TRO by 14 days pending the Magistrate
   Judge’s R&R on the Motion for Class Certification and other hearings in the matter. (ECF
   No. 101.) On May 22, 2020, the Magistrate Judge issued an R&R recommending that the
   Court deny the Motion for Class Certification with respect to Petitioners’ demand for habeas
   corpus release but grant Petitioners’ Motion with respect to their conditions-of-confinement
   claims. (ECF No. 111 at 4-5.) 7
          On May 15, 2020, the Court set a Motion Hearing for May 27, 2020, regarding the
   Petitioners’ Emergency Motion for TRO and Motion for Preliminary Injunction. (ECF No.
   101.) On May 20, 2020, Petitioners filed an Emergency Motion to Compel Compliance with
   the Court’s April 30, 2020, Order alleging that Respondents had not fully complied with the
   Court’s April 30, 2020, Order. (ECF No. 106.) The Court set an expedited briefing schedule



   7
      The Magistrate Judge did not view Petitioner’s Motion for Class Certification as an
   “emergency” and designated the 14-day presumptive deadline for written objections
   established by Local Rule 4. However, on May 29, 2020, the Magistrate Judge sua sponte
   issued an Amended R&R on the Motion for Class Certification, which is “substantively
   identical to the first version.” (ECF No. 123 at 1, n.1.). In so doing, the Magistrate Judge
   extended the parties time to file objections by an additional 14 days. To promote judicial
   economy and preserve resources, the Court requested that the parties consent to extend the
   TRO until June 15, 2020, to allow the parties the opportunity to submit any Objections to the
   Amended R&R before the Court issued an Order. Respondents did not consent to an
   additional extension. On June 1, 2020, the Court issued an Order instructing the parties to
   file all Objections to the R&R on June 3, 2020 pursuant to Local Rule 4(a).
                                                        4
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   on the Motion to Compel and instructed the parties to be prepared to discuss the Motion to
   Compel at the May 27, 2020, Motion Hearing. (ECF No. 107.)
          On May 27, 2020, the Court held a hearing on Petitioners’ Motion for
   TRO/Preliminary Injunction and Motion to Compel. (ECF No. 120.) On May 28, 2020,
   Respondents consented to an extension of the TRO for an additional seven days. (ECF No.
   119.) On June 2, 2020, the Court held a second hearing on the Petitioners’ Motion for
   TRO/Preliminary Injunction, during which Petitioners presented testimony from Dr. Joseph
   Shin. On June 3, 2020, the Court held a third hearing on the Petitioners’ Motion for
   TRO/Preliminary Injunction, during which Petitioners presented testimony from three
   detainees—Steve Cooper, a 39-year-old Jamaican native currently detained at Glades,
   Alejandro Ferrera Borges, a 29-year-old Cuban native currently detained at BTC, and Deivys
   Perez Valladares, a 35-year old Cuban native currently detained at Krome. 8

       B. Facts
            i.    COVID-19 Transmission in Immigration Detention Facilities

          Since the filing of this action, the coronavirus pandemic has continued to spread. To
   date, over 100,000 9 people have died from COVID-19 in America.10 And at least two
   individuals have died in ICE custody due to COVID-19. 11 Some experts estimate that up to
   400,000 Americans may die from COVID-19 in approximately one year.12
          COVID-19 is a highly infectious deadly disease believed to transmit among people
   through respiratory droplets released by coughing or sneezing, as well as through contact with
   infected individuals. (Shin Decl. ¶7.) The medical and science community believe COVID-19


   8
      Each witness also submitted a declaration regarding the conditions of confinement at each
   of the detention centers at issue. This Order is issued two days after the June 3, 2020, hearing.
   In light of the expeditious turnaround, the Court relied on a rough draft of the transcript the
   court reporter submitted to the Court.
   9
     Johns Hopkins University Coronavirus Resource Center,
   https://coronavirus.jhu.edu/map.html (last updated June 5, 2020, 12:00 p.m. EST).
   10
       There are over 6 million confirmed COVID-19 cases globally and over 380,000 deaths. At
   the commencement of this lawsuit in April 2020, there were over 1 million confirmed
   COVID-19 cases globally and over 380,000 deaths. (See, e.g. Shin Decl. ¶4.)
   11
      https://www.ice.gov/coronavirus.
   12
      https://abcnews.go.com/amp/Health/coronavirus-updates-us-100-million-doses-vaccine-
   end/story?id=71038663.
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   is an airborne virus spread by individuals who are pre-symptomatic (individuals who have
   contracted the disease but do not yet display symptoms of the disease), asymptomatic 13
   (individuals displaying no symptoms despite having contracted the virus), and symptomatic
   (individuals that have contracted the virus and exhibit symptoms of the disease) spread the
   disease. (Shin Dec. ¶22.) Indeed, estimates suggest that as many as 15-57% of infected
   individuals display no symptoms at the time of testing. (Shin Decl. ¶ 7.)
          Experts’ collective knowledge about COVID-19 has continued to evolve exponentially
   over a short period of time. The virus’ effect in individuals ranges from mild to severe,
   resulting in death in approximately 1-4% of confirmed cases. (Shin Decl. ¶9; Greer Decl. ¶19.)
   COVID-19, which was originally thought to primarily affect the elderly, has proven that no
   age demographic is spared from the virus. (Greer Decl. ¶18.) There have been reports of
   children as young as five years 14 dying after contracting the virus. There have also been reports
   of adults in the 20-40 age bracket being severely affected by the virus. 15 (Shin Decl. ¶10.) Most
   people who contract the disease will develop mild respiratory infection. (Greer Decl. ¶19.)
   However, serious illness occurs in at least 16% of cases and death is most common among
   people with underlying chronic health conditions, such as heart disease, lung disease, liver
   disease, and diabetes. (Id.) People with severe symptoms may require ventilation and
   intravenous antibiotics. (Id.at ¶20.) Further, COVID-19, originally believed to attack human
   lungs, demonstrably also affects various other organs, including the brain, heart, and
   kidneys. 16 Studies show that even where people recover from COVID-19, they may face
   serious permanent complications, including lung scarring.17
          Detention centers are not isolated communities. Staff, visitors, contractors, and
   vendors can bring infectious diseases into facilities. (Greer Decl. ¶9.) COVID-19 has already
   started to spread inside prisons and detention centers across the United States. To date, there


   13
      Recent data suggests that has almost 13% of transmission occurs from asymptomatic
   individuals before they start to show symptoms. (Greer Decl. ¶9.)
   14
      https://www.cnn.com/2020/04/21/us/detroit-girl-dies-coronavirus/index.html
   15
      https://www.hopkinsmedicine.org/health/conditions-and-
   diseases/coronavirus/coronavirus-and-covid-19-younger-adults-are-at-risk-too.
   16
      https://www.washingtonpost.com/health/2020/05/10/coronavirus-attacks-body
   symptoms/?arc404=true.
  17
     https://www.sciencenews.org/article/coronavirus-covid-19-some-patients-may-suffer-
   lasting-lung-damage.
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   are over 1,600 confirmed COVID-19 cases among those detained in ICE custody nation-
   wide. 18 Moreover, congregate settings such as detention facilities where people share common
   dining areas, bathrooms, and other common areas allow for rapid spread of infectious
   diseases. (Greer Decl. ¶¶9-10; Castano Decl. ¶15.) Detention facilities are often over-crowded,
   under-resourced, and ill-equipped in the event of a contagion. (Shin Decl. ¶14; Greer Decl.
   ¶11.)
           Detainees often have to wait several days to see a medical doctor for serious medical
   concerns. (Greer Decl. ¶25.) Further, detention facilities often lack onsite medical facilities or
   24-hour medical care, which can be crucial in identifying and managing infectious disease.
   (Greer Decl. ¶¶12-13.) During a contagion, staff may fall ill and fail to attend work, which in
   turn increases the risk of spread because of the reduced level of care provided. (Greer Decl.
   ¶15.) Thus, the risk of wide-spread transmission of COVID-19 in detention centers is
   “significantly higher than in the community.” (Shin Decl. ¶13.)

            ii.   CDC’s and ICE’s Pandemic Response Guidelines

           There is no vaccine or cure for COVID-19. (Shin Decl. ¶11.) Public health strategies
   are the only effective methods to mitigate the spread and impact of the virus. (Shin Decl. ¶12;
   Greer Decl. ¶21.) Accordingly, both the CDC and ICE promulgated a set of guidelines and
   recommendations intended to protect detainees and staff from contracting the disease.

                       a.        The CDC’s Pandemic Response Guidelines

           On March 23, 2020, the CDC issued an Interim Guidance on Management of
   Coronavirus Disease 2019 (COVID-19) in Correctional and Detention Facilities (the “CDC’s
   Guidelines”),19 which applies to “incarcerated/detained persons, staff, volunteers, and
   visitors who enter correctional and detention facilities, as well as incarcerated/detained
   persons who are transferred to another facility or released from custody.” The CDC’s Interim
   Guidance on Management of Coronavirus Disease 2019 (COVID19) in Correctional and
   Detention Facilities (March 23, 2020) at 26.



   18
     ICE Guidance on COVID-19 https://www.ice.gov/coronavirus
    Available at https://www.cdc.gov/coronavirus/2019-ncov/community/correction-
   19

   detention/guidance-correctional-detention.html
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           Due to the highly contagious nature of COVID-19 and its rapid spread, the CDC
   recommends, inter alia, frequent hand washing, use of hand sanitizers, and social distancing—
   maintaining a minimum of six feet between and among persons to mitigate transmission and
   minimize disease. 20
          On the subject of cohorting,21 the CDC’s Guidelines advise that people exposed to
   COVID-19 should be put in individual, not group, quarantine: “Facilities should make every
   possible effort to quarantine close contacts of COVID-19 cases individually.” Id. at 15; 19.
   Further, “[o]nly individuals who are laboratory confirmed COVID-19 cases should be placed
   under medical isolation as a cohort. Do not cohort confirmed cases with suspected cases or
   case contacts.” Id. at 16. Cohort quarantine “should only be practiced if there are no other
   available options,” because “[c]ohorting multiple quarantined close contacts of a COVID-19
   case could transmit COVID-19 from those who are infected to those who are uninfected.” Id.
   at 15; 19. If cohorting of ill detainees is unavoidable, the CDC’s Guidelines recommend
   “mak[ing] all possible accommodations until transfer occurs to prevent transmission of other
   infectious diseases to the higher-risk individual (For example, allocate more space for a
   higher-risk individual within a shared isolation room).” Id. at 17.
          As for transfers, the CDC’s Guidelines recognize that, “[t]here are many opportunities
   for COVID-19 to be introduced to a correctional or detention facility, including daily staff
   ingress and egress; transfer of incarcerated/detained persons between facilities and systems,
   to court appearances, and to outside medical visits; and visits from family, legal
   representatives, and other community members.” Id. at 2. Thus, the CDC’s Guidelines
   contemplate that transfers should be utilized as a last resort. The CDC’s guidelines state that
   transfers should be restricted to and from other “jurisdictions and facilities unless necessary
   for medical evaluation, medical isolation/quarantine, clinical care, extenuating security
   concerns, or to prevent overcrowding.” Id. at 9. The CDC’s Guidelines specifically state,


   20
      Centers for Disease Control, Interim Guidance on Management of Coronavirus Disease
   2019 (COVID-19) in Correctional and Detention Facilities (Mar. 23, 2020), Available at
   https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-
   correctional-detention.html
   21
      Cohorting is “the practice of isolating multiple laboratory-confirmed COVID-19 cases
   together as a group or quarantining close contacts of a particular case together as a group.”
   Id. at 3.
                                                     8
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   “[t]ransfer should be avoided due to the potential to introduce infection to another facility;
   proceed only if no other options are available.” Id. at 16; 20. The CDC’s Guidelines further
   state that confirmed cases should be restricted from leaving the facility while under medical
   isolation precautions, “unless released from custody or if a transfer is necessary for medical
   care, infection control, lack of medical isolation space, or extenuating security concerns.” Id.
   at 17. To the extent that a transfer is “absolutely necessary,” the CDC Guidelines call for ICE
   to “perform verbal screening and a temperature check as outlined in the [CDC Guidelines]
   before the individual leaves the facility.” Id. at 9. If an individual does not clear the screening
   process, ICE is expected to “delay the transfer and follow the protocol for a suspected
   COVID-19 case— including putting a face mask on the individual, immediately placing them
   under medical isolation22, and evaluating them for possible COVID-19 testing.” (Id.) And “[i]f
   the transfer must still occur,” ICE requires “ensur[ing] that the receiving facility has capacity
   to properly isolate the individual upon arrival.” Id.
          As for new entrants, the CDC also recommends “quarantining all new intakes for 14
   days before they enter the facility’s general population (SEPARATELY from other
   individuals who are quarantined due to contact with a COVID-19 case).” Id. at 14. (emphasis
   in original). The CDC further specifies that detention centers should conduct “pre-intake
   screening and temperature checks for all new entrants” and to put new intakes with symptoms
   (fever, cough, shortness of breath) in medical isolation. Id. at 10.




   22
     Medical isolation is not the equivalent of quarantining. Rather, medical isolation “refers to
   confining a confirmed or suspected COVID-19 case (ideally to a single cell with solid walls
   and a solid door that closes), to prevent contact with others and to reduce the risk of
   transmission.” Id. at 3.
                                                       9
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                        b.       ICE’s Pandemic Response Guidelines

           Some ICE detention centers are subject to ICE’s Performance-Based National
    Detention Standards 2011 (“PBNDS”), 23 while other detention centers are subject to ICE’s
    National Detention Standards (“NDS”). 24 Section 4.3(II)(10) of ICE’s PBNDS requires that
    “Centers for Disease Control and Prevention (CDC) guidelines for the prevention and control
    of infectious and communicable diseases shall be followed.” (PBNDS at 258.) Similarly,
    section 1.1(I) of the NDS, mandates “facilit[ies] will operate in accordance with all applicable
    regulations and codes, such as those of . . . the Centers for Disease Control and Prevention
    (CDC). . . .” (NDS at 1.) Accordingly, ICE issued its own set of directives and guidelines
    regarding the coronavirus pandemic that largely comports with the CDC’s described
    guidelines.
           On April 10, 2020, ICE released its COVID-19 Pandemic Response Requirements, 25
    which include “specific mandatory requirements” and best practices for all facilities housing
    ICE detainees. ICE’s COVID-19 April 10, 2020 Pandemic Response Requirements (“PRR”)
    at 3, 4.) Like the CDC’s Guidelines, ICE’s PRR emphasizes that social distancing should be
    promoted within detention centers. Specifically, ICE’s PRR states, “all staff and detainees
    should maintain a distance of six feet from one another.” Id. at 12. Staff and detainees are
    also instructed to “avoid congregating in groups of 10 or more, employing social distancing
    strategies at all times.” Id. at 13. The PRR goes on to state, “[i]f practicable, beds in housing
    units should be rearranged to allow for sufficient separation during sleeping hours.” Id.
           Similar to the CDC’s Guidelines, the PRR cautions, “[o]nly individuals who are
    laboratory-confirmed COVID-19 cases should be isolated as a cohort. Do not cohort
    confirmed cases with suspected cases or case contacts.” Id. at 14. “Cohorting should only be
    practiced if there are no other available options.” Id. However, if cohorting of ill detainees is
    unavoidable, ICE is instructed to “make all possible accommodations until transfer occurs to




    23
       ICE’s COVID-19 April 10, 2020 Pandemic Response Requirements. Available at:
    https://www.ice.gov/doclib/detentionstandards/2011/pbnds2011r2016.pdf.
    24
       Available at: www.ice.gov/doclib/detention-standards/2019/nds2019.pdf
    25
       Available at: https://www.ice.gov/sites/default /files/documents /Document /2020
    /eroCOYID19responseReqsCleanFacilities.pdf
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    prevent transmission of other infectious diseases to the higher-risk individual (For example,
    allocate more space for a higher-risk individual within a shared isolation room).” Id. at 15.
            As to transfers, ICE’s PRR also states, “[w]here possible, restrict transfers of detained
    non-ICE populations to and from other jurisdictions and facilities unless necessary for medical
    evaluation, isolation/quarantine, clinical care, or extenuating security concerns.” Id. at 13.
    Notably, ICE’s PRR make no mention of utilizing transfers as a means to control population
    size during the pandemic. 26
           The PRR calls for detainees to be quarantined for 14 days prior to entering the general
    population. Id. at 14. New entrants are to be assessed for fever and respiratory illnesses prior
    to entering the facility. (Castano Decl. ¶9.) Pursuant to the PRR, ICE should “consider
    cohorting daily intakes; two days of new intakes, or multiple days on new intakes, in
    designated areas prior to placement into the general population.” Id.
           ICE’s PRR also states all facilities housing ICE detainees must:

               •   Ensure that all staff and detainees wear cloth face coverings (when protective
                   equipment supply is limited) to help slow the spread of COVID-19;
               •   Instruct staff and detainees to wear cloth face coverings when protective
                   equipment supply is limited;
               •   Provide staff and detainees with no cost unlimited access to supplies for hand
                   cleansing, including liquid soap, water, paper towels or dryers, and no-touch
                   receptacles;
               •   Instruct personnel that “[A]ll staff and detainees should maintain a distance of
                   six feet from one another;” and
               •   Make efforts to reduce the population to approximately 75% of capacity, to
                   promote social distancing.
           (PRR at 7-14.)




    26
       Beginning in 2004, Congress has appropriated funding to ICE for an Alternatives to
    Detention program created to provide supervised release and enhanced monitoring for a
    subset of foreign nationals subject to removal whom ICE has released into the United States.
    Detainees may be released on parole, bond, home detention, etc., through the Alternatives to
    Detention program. In fact, ICE has reportedly utilized its alternative detention program to
    release hundreds of immigrants in detention as coronavirus spreads in detention centers.
    (ECF No. 63 at 40, n.11.)
                                                      11
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              iii.   Reported Facilities Conditions
             Declarations submitted in this matter contain substantially similar allegations.
    Common to each detention facility at issue is that: (1) Petitioners are held in a cohort
    quarantine; (2) Petitioners cannot social distance; (3) Petitioners have developed a cough but
    has not been tested for COVID-19; (4) Petitioners sleep in bunkbeds less than a meter away
    from each other; (4) Petitioners do not have adequate amounts of soap throughout the day;
    (5) Petitioners have difficulty washing their hands for 20 seconds because the water turns off
    too quickly; (6) Petitioners are concerned that the crowded conditions will result icontracting
    COVID-19; (7) most officers do not wear masks when near the detainees; (8) petitioners
    typically eat less than six feet away from other detainees; (9) dozens of detainees in a pod
    must share one toilet or the toilets are too close together for social distancing to occur; (9)
    Petitioners do not have access to masks, gloves, or hand sanitizer; and (10) Petitioners who
    prepare the food do not wear masks and sometimes do not wear gloves.” (ECF No. 63 at 20-
    21.)

                          a.       Krome 27
             ICE owns the Krome detention center, but daily operations are contracted out to a
    private company, Akima Global Services. (Greer Decl. ¶7.)
             At Krome, upon entering the facility, medical screenings are conducted on all
    detainees within a 12-hour time frame and detainees are screened for fevers and respiratory
    illnesses. (Castano Decl. ¶9.) During intake, detainees are asked to confirm if they have
    had close contact with a person with laboratory-confirmed COVID-19 in the past 14 days.
    (Id.)
             Detainees at Krome are subject to group cohorting. In cases of known exposure to a
    person with confirmed COVID-19, asymptomatic detainees are placed in cohorts for 14
    days after most the recent exposure to an ill detainee and are monitored daily. (Id. at ¶11.)
    Housing units in cohort status are issued surgical face masks. (Id.)
             Detainees share a living unit with at least 65 bunk beds. (Greer Decl. ¶24.) The distance
    between beds varies from 3 feet 2 inches to 4 feet 9 inches. (ECF No. 63 at 38.) Detainees are



    27
         Krome is subject to ICE’s PBNDS.
                                                        12
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    forced to either sit close to one another while they eat meals since tables and chairs are fixed
    to the floor or forced to wait in line together for meals. (Greer Decl. ¶24.)
             The Krome medical facility has only a “limited number” of COVID-19 test kits. (ECF
    No. 63 at 37.)
             At the onset of this action there were no confirmed cases of COVID-19 at Krome and
    no detainees being cohorted at Krome for exhibiting symptoms of COVID-19. (ECF No. 63
    at 35.) Now, 20 Krome detainees have tested positive for COVID-19. 28

                         b.      Glades 29

             Glades is a county jail, which houses immigration detainees pursuant to an inter-
    governmental service agreement with ICE. (Greer Decl. ¶7.)
             Detainees at Glades share a clinic staff which manages male and female detainees and
    provides daily access to sick calls in a clinical setting, as well as mental health services and
    the ability to admit patients at the local hospital for medical and mental health care. (Castano
    Decl.at ¶13.) COVID-19 tests are available at the detention center. (Id. at ¶15.) However,
    Dr. Greer suspects that detainees often wait several days to have to see a medical doctor for
    serious medical concerns. (Greer Decl. ¶25.)
             The detainee population at Glades is within its approved capacity and is “not
    overcrowded.” (Castano Decl. ¶15.) Detainees share a living unit with at least 65 individuals.
    (Greer Decl. ¶24.) Glades issues male detainees four ounces of soap, twice a week, which is
    replenished as needed. (Castano Decl. ¶18.) Female detainees receive a 7.5-ounce bottle, at
    the same frequency. (Id.) The housing units have available running water and soap 24 hours
    a day, seven days a week. (Id. at ¶30.)
             The detainees are housed in a dormitory-style setting. The bunks are approximately
    12 inches apart from the head of one bed to the foot of the next bunk and about seven feet
    apart, side to side. (Castano Decl. ¶30.) The distance between the upper bunk and lower bunk
    is 34 inches, and the distance between beds is 7 feet, 2 inches. (Castano Decl. ¶30.)




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         https://www.ice.gov/coronavirus.
    29
         Glades is subject to ICE’s NDS.
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           At present, ICE is cohorting 320 detainees “as a precautionary measure, per the
    established protocol.”30
           At the onset of this action there were no confirmed cases of COVID-19 at Glades
    County Detention Center, and no detainee was subject to cohorting. (Castano Decl. ¶14.) To
    date, 60 Glades detainees have tested positive for COVID-19. 31

                        c.        BTC32

           BTC is a private facility. The GEO Group operates the facility pursuant to an ICE
    contract. (Greer Decl. ¶7.)
           At the BTC,upon entering the facility, medical screenings are conducted on all
    detainees within a 12-hour time frame and detainees are screened for fevers and respiratory
    illnesses. (Vega Decl. ¶9.) During intake, Detainees are asked to confirm if they have had
    close contact with a person with laboratory- confirmed COVID-19 in the past 14 days, and
    whether they have traveled from or through area(s) with sustained community transmission
    in the past two weeks (Id.)
           Detainees are housed in rooms and separated by gender, with a maximum of six
    detainees per room. (Id. at ¶22.) Bunk beds in the male rooms are two feet apart. (Id.) Bunk
    beds in the female rooms are 6.5 feet apart. (Id.) Bunk beds in the male rooms are two feet
    apart. (Id.) Bunk beds in the female rooms are 6.5 feet apart. (Id.) The distance between
    chairs in the dining hall is four feet. (Id.) The facility is also practicing social distancing
    by staggering meal lines with reduced numbers of individuals in the dining room and
    markers have been added every six feet to visually facilitate social distancing. (Id.)




    30
       To date, ICE houses 320 detainees at Glades. (ECF No. 131-1 ¶8.) ICE submission can be
    interpreted to mean that the entire detainee population at Glades is being cohorted together.
    ICE declares that the cohort is scheduled to end on June 3, 2020.
    31
       At the June 3, 2020 Hearing, ICE admitted that it had discovered 58 COVID-19 cases at
    Glades. For that reason, it had determined to cease all transfers for a period of time. The
    Court notes that ICE’s submissions to the Court differs from the statistics on its regularly
    updated website, which states that there are 60 confirmed COVID-19 cases at Glades to date.
    https://www.ice.gov/coronavirus (last updated June 5, 2020).
    32
       BTC is subject to ICE’s PBNDS.
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             In cases of known exposure to a person with confirmed COVID-19, asymptomatic
    detainees are placed in cohorts for 14 days after most recent exposure to an ill detainee and
    are monitored twice daily for fever and symptoms of respiratory illness. (Id. at ¶11.)
             ICE states that BTC detainees are granted daily access to medical treatment at an
    onsite medical observation room, pharmacy, tele-psychiatry, and access to 24/7 specialty
    services and hospital care within the community. (Id. at ¶13.) However, Dr. Greer that
    detainees often wait several days to have access to a medical doctor for serious medical
    concerns. (Greer Decl. ¶25.)
             At BTC, all detainees over 60 years of age have been released and the overall detention
    population has been reduced by 35 percent in accordance with ICE’s Guidelines. (Vega Decl.
    ¶23.)
             At the onset of this action there were no confirmed cases of COVID-19 at BTC and no
    detainees being cohorted for exhibiting symptoms of COVID-19. (ECF No. 63 at 35.) Now,
    20 BTC detainees have tested positive for COVID-19. 33

              iv.   Aftermath of Temporary Restraining Order

             On April 30, 2020, the Court issued a TRO in which it instructed the parties as follows:

          1. Evaluate each of the detainees in the instant action consistent with ICE’s PRR and
             inform the Court who among them can be released promptly in light of COVID-19.
          2. Submit a report the Court informing the Court as to how it intends to accelerate its
             review of its “Alternatives to Detention” program (or other protocols resulting in
             detainee release) with the goal of reducing the population to 75% of capacity at each
             of the three detention centers within two weeks of this Order.
          3. Perform an internal review pursuant to ICE’s PRR and file with the Court weekly
             reports on the following
                 a. The number of detainees who have been released;
                 b. Which facility they were released from; and
                 c. The nature of the detainee released (e.g., in a high-risk category because of age
                     or a specific, documented medical condition, etc.)
          4. Submit reports on the following:
                 a. How many detainees it is housing on the date of reporting;
                 b. At which of the three centers the detainees are being housed;
                 c. Which of the detainees are considered “mandatory detainees”; and
                 d. Which of the detainees have no prior criminal convictions and no pending
                     criminal charges.


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         https://www.ice.gov/coronavirus
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         5. Immediately comply with the CDC and ICE guidelines on providing adequate
            amounts of soap and water and cleaning materials to detainees at each of the three
            detention centers at issue. ICE was also required to provide masks to all detainees and
            shall replace those masks at least once per week.
         6. Provide education and training about measures to reduce the health risks associated
            with COVID-19 to all staff members and detainees and to any new detainees or
            employees. ICE was also required to provide such education and training without any
            costs to the detainees.
            Since the filing of this suit, ICE has filed several reports assuring the Court that it is
    complying with the TRO. A mere seven days after the filing of the TRO, ICE submitted a
    Report stating it had successfully reduced the populations at each detention center below 75%
    capacity. (ECF No. 89-1 ¶3.) By May 7, 2020, ICE had reviewed each of the 58 petitioners
    and determined that only six 34 of the Petitioners were eligible for release. (Id. at ¶3.) In
    approximately that same time period, ICE released or removed a total of 60 detainees. (ECF
    No. 90-1 ¶3.) ICE had determined that the remaining petitioners were either subject to
    mandatory detention or facing pending criminal charges. (Id.) As to each detention center,
    ICE submitted Reports stating the following:
            Krome. Upon intake, ICE detainees are given an opportunity to shower and are issued
    clean clothing, bedding, towels and personal items. (ECF No. 79-1 ¶4.) ICE staff at Krome
    issued every detainee a surgical mask. (Id. at ¶3.) Krome posted instructions in English,
    Spanish and Creole regarding the proper use of the masks and noting that masks will be
    replaced every Wednesday. (Id. at ¶4.)
            Glades. Staff has issued every ICE detainee a surgical mask. (Id. at ¶8.) Staff also posted
    instructions in English, Spanish and Creole informing detainees about the proper use of the
    masks and noting that the masks will be replaced every Friday. (Id. at ¶8.) ICE detainees are
    provided adequate amounts of soap, water and cleaning materials. (Id. at ¶9.)
            BTC. All detainees have been issued masks and encouraged to wear them in the
    presence of other detainees. (ECF No. 79-2 ¶4.) The masks are exchanged once a week. (Id.
    at ¶4.) Staff continues to provide detainees with adequate soap, hand sanitizers and other
    cleaning supplies. (Id. at ¶¶5-6.)


    34
      To date, ICE has still released only six of the 58 Petitioners before the Court. (ECF No.
    116-2 ¶29.) The Court’s TRO and subsequent orders, if any, are moot as to the released
    Petitioners.
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           As to transfers between and among detention facilities, ICE explains that on May 5,
    2020, after the TRO issued, ICE’s Enforcement and Removal Operations division (“ERO”)
    introduced a new COVID-19 checklist intended to provide ERO and contracted staff with
    steps to take prior to transferring, removing, or releasing an alien from ERO custody to further
    mitigate the spread of COVID-19. (ECF No. 116-2 ¶19.) The checklist requires verification of
    a detainee’s current health status and exposure history prior to transfer. (Id. at ¶21.) According
    to ICE, Detainees scheduled for transfer must be cleared medically prior to the transfer. (Id.
    at ¶20.) Further, unless medically necessary, ICE does not transfer detainees that are in
    isolation, are symptomatic, have pending test results or that are cohorted due to exposure to
    a person with confirmed or suspected COVID-19. (Id.) ICE states that ERO reviews the
    custody status of each detainee prior to transfer and obtained a medical clearance for each
    detainee transferred in accordance with the detention standards and ERO’s PRR. (Id. at ¶22.)
    Once detainees are cleared for transfer, detention and transportation staff provide each
    detainee with a mask prior to transfer and counsel them on proper mask use. (Id. at ¶¶24-25.)
    ICE submits that “[d]etainee transfers are based upon bed-space considerations and custody
    classification.” (Id. at ¶24.)
            In evaluating the 58 Petitioners in the instant action, ICE populated a spreadsheet
    with information related to each Petitioner’s chronic health conditions. (ECF No. 116-2 ¶¶5-
    6.) ICE then reviewed the custody status and other factors articulated by the court to
    determine who could be released. (Id. at ¶7.)
           ICE does not deny that social distancing is not possible at the detention centers.
    Instead, ICE notes that the CDC Guidelines states that its guidance may need to be adapted
    to each facility. (ECF 116-1 ¶32.) ICE states that it “encourages” social distancing between
    detainees by “encouraging detainees to sleep head to toe, staggering of recreation and meals,
    and suspension of social visitation.” (Id.) ICE goes on to submit that social distancing is not
    feasible because some of the furniture is fixed to the floor, making it impossible to rearrange
    furniture to allow for six feet of social distancing. (Id. at ¶30.)
           ICE’s Reports stand in stark contrast to the Petitioners’ allegation. The Petitioners
    contend that ICE is not complying with the TRO and continues to fail to protect the safety




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    and well-being of Petitioners and others in its custody at Krome, Glades, and BTC.35 On May
    20, 2020, Petitioners filed a Motion to Compel alleging that although ICE touts population
    reductions at the three facilities, ICE actually utilizes transfers to “[shuffle] people around the
    country to make the population statistics at Krome, Glades, and BTC look better on paper.”
    (ECF No. 106 at 2.)
           Petitioners further allege that despite the aggressive utilization of transfers, ICE has
    not improved the conditions at any of the three detention centers. Most notably, social
    distancing is still not possible at these facilities. (ECF No. 106 at 2.) Further, access to soap,
    hand sanitizer, masks, gloves, and cleaning supplies is still not reliable or consistent. (ECF
    No. 106 at 2.) Petitioners request that this Court compel ICE to provide documentation of its
    determination for each detained individual before transferring them to a different facility.
           The Petitioners’ submitted declarations support these allegations. The submitted
    declarations allege that they were either given ripped masks during detention or they were
    given masks for the very first time during transfer. (ECF No. 106-2 at 4, 18.) Most disturbing,
    some detainees are being transferred to different facilities within Florida without being first
    evaluated for COVID-19. (ECF No. 106-2.) Some detainees allege that they are transferred to
    processing centers where their temperatures are checked upon arrival, however soap is not
    readily available at the processing centers. (ECF No. 106-2 at 5.) In sum, the declarations
    assert that social distancing is not possible at the detention centers at issue, hygiene products
    are still in limited supply, and the use and distribution of masks among staff and detainees is
    inconsistent. (ECF No. 106.)
           By contrast, ICE asserts that it properly exercised its broad discretionary authority
    pursuant to 8 U.S.C. §1231(g)(1) to transfer detainees to other locations. (ECF No. 116 at 3-
    6.) ICE maintains that prior to transfer, ICE reviews the detainees’ medical history and


    35
      On June 3, 2020, Petitioners presented live witnesses currently held at each of the three
    detention centers and each testified that ICE had not educated the detainees on mask use or
    the importance of mask use. To the extent that ICE erected posters about COVID-19 and
    mask use, the posters were typically presented only in English. The witnesses also testified
    that during the transfer process there were not tested for COVID-19 and they were either not
    provided with masks or expected to use the same mask they’d been provided sometime during
    their detention. The witnesses also stated that mask use is inconsistent among staff and
    detainees. Each detainee testified that social distancing is still not possible at any of the
    detention centers.
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    obtains a medical clearance. (Id. at 7.) ICE also states that it created a new COVID-19
    checklist to mitigate the effects of COVID-19 when transferring, removing, or releasing an
    alien from custody. (Id. at 7.) The checklist requires completion by ICE staff prior to a detainee
    being transferred out of the detention facility and is served on the detainee. (Id. at 7.) ICE
    admits that some detainees that were transferred from Krome to BTC have tested positive for
    COVID-19. However, ICE “does not believe that the transfer has resulted in an increase in
    COVID-19 cases at BTC.” (Id. at 8.) ICE insists that the Court should defer to ICE’s judgment
    on the management of detention facilities during the COVID-19 pandemic. (Id. at 10-11.)
    Last, ICE asserts that this Court lacks jurisdiction over detainees which ICE has transferred
    to locations outside of Florida. (Id.at 11-12.)

                                          II.    LEGAL STANDARD
       A. Class Certification

           Federal Rule of Civil Procedure 23 governs class certification. Class certification is
    proper where the party seeking certification demonstrates that: (1) each of the prerequisites
    of Federal Rule of Civil Procedure 23(a) have been met; and (2) the proposed class satisfies
    at least one of the requirements listed in Rule 23(b). Wal-Mart Stores, Inc. v. Dukes, 564 U.S.
    338, 345 (2011). Rule 23(a) requires a showing that: (1) the proposed class is so numerous that
    joinder of all members is impracticable; (2) there are questions of law or fact common to the
    class; (3) the claims or defenses of the representative parties are typical of the claims or
    defenses of the class; and (4) the representative parties will fairly and adequately protect the
    interests of the class. Fed. R. Civ. P. 23(a).
           In addition to meeting the four prerequisites in subdivision (a), a party must also
    demonstrate one of the following: (1) a risk that separate actions would create incompatible
    standards of conduct for the defendant or prejudice individual class members not parties to
    the action; (2) the defendant has treated the members of the class as a class, making
    appropriate injunctive or declaratory relief with respect to the class as a whole; or (3) common
    questions of law or fact predominate over questions affecting individual members and that a
    class action is a superior method for fairly and efficiently adjudicating the action. See Fed. R.
    Civ. P. 23(b)(1)-(3). Once the requirements of Rule 23(a) and 23(b) are met, a Court
    must certify the lawsuit in question as a class action. Walco Investments, Inc. v. Thenen, 168

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    F.R.D. 315, 323 (S.D. Fla. 1996). Generally, Rule 23 is liberally construed in order to further
    its objectives. Id.
           Most importantly, in determining whether to certify a class, the Court is not to
    examine the underlying merits of the claims. See Eisen v. Carlisle & Jacquelin, 417 U.S. 156,
    177-78 (1974); See also Cox v. American Cast Iron Pipe Co., 784 F.2d 1546, 1557 (11th
    Cir.1986), cert. denied, 479 U.S. 883 (1986).

       B. Preliminary Injunction

           A preliminary injunction is appropriate if the movant demonstrates: (1) a substantial
    likelihood of success on the merits; (2) that the preliminary injunction is necessary to prevent
    irreparable injury; (3) that the threatened injury outweighs the harm the preliminary
    injunction would cause the other litigant; and (4) that the preliminary injunction would not
    be averse to the public interest. Nken v. Holder, 556 U.S. 418, 434 (2009).
           “The first two factors of the traditional standard are the most critical.” Id. However,
    “the movant may also have his motion granted upon a lesser showing of a ‘substantial case
    on the merits’ when ‘the balance of the equities identified in factors 2, 3, and 4 weighs heavily
    in favor of granting the stay.’” Garcia-Mir v. Meese, 781 F. 2d 1450, 1453 (11th Cir. 1986)
    (quoting Ruiz v. Estelle, 650 F.2d 555, 565 (5th Cir.1981) (per curiam), cert. denied, 460 U.S.
    1042 (1983)).

                                              III.   DISCUSSION
       A. Class Certification

           Petitioners seek certification of the following class:

                    All civil immigration detained individuals held by
                    Respondents at the Krome Service Processing Center
                    (“Krome”), the Broward Transitional Center (“BTC”), or
                    at Glades County Detention Facility (“Glades”) when
                    this action was filed, since this action was filed, or in the
                    future.
    (ECF No. 81 at 5.) Petitioners assert that they have met all the requirements of Rule 23. ICE
    contends however, that Petitioners’ Motion for Class Certification should be denied because
    (1) it is overbroad, (2) the proposed class is not adequately defined, and (3) the proposed class
    would include detainees not detained at any of the three detention centers, such as those
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    transferred to other detention centers. ICE also argues that this Court lacks jurisdiction over
    detainees transferred or released from ICE detention. The Magistrate Judge issued an
    Amended R&R recommending that the Court deny the class certification motion concerning
    the habeas corpus demand for release but grant the motion, in part, and certify a class of all
    current detainees at the three South Florida facilities for the conditions-of-confinement claims
    (as opposed to the claim for release). (ECF No. 123 at 4-5.)

             i.     Article III Standing

           The Court must first address the threshold issue of standing as it applies to the
    proposed class. To satisfy constitutional standing in federal court, a habeas petitioner (like
    other litigants) “must have suffered, or be threatened with, an actual injury traceable to the
    defendant and likely to be redressed by a favorable judicial decision.” Spencer v. Kemna, 523
    U.S. 1, 7 (1998) (quoting Lewis v. Continental Bank Corp., 494 U.S. 472, 477 (1990)).
           Here, Petitioners are threatened with a heightened risk of severe illness and death upon
    contracting COVID-19, and said threat is easily traceable to their confinement in ICE
    custody. Accordingly, the Court rules that the Petitioners easily meet Article III’s standing
    requirements.

            ii.     Rule 23(a) Requirements
                         a.      Numerosity

           Rule 23(a)(1) requires that the class be so numerous that joinder of all members is
    impracticable. The question of whether Rule 23(a)(1) has been satisfied depends on the facts
    of each case. Walco Investments, 168 F.R.D. at 324.
           Although a plaintiff need not show the precise number and identity of class members,
    mere speculation as to the number of parties involved and general allegations of numerosity
    are insufficient to satisfy Rule 23(a)(1). See Evans v. U.S. Pipe & Foundry Co., 696 F.2d 925
    (11th Cir.1983). To satisfy this prerequisite, a plaintiff must ordinarily demonstrate some
    evidence or reasonable estimate of the number of purported class members. See Zeidman v. J.
    Ray McDermott & Co., Inc., 651 F.2d at 1038; See also Kreuzfeld A.G. v. Carnehammar, 138
    F.R.D. 594, 599 (S.D.Fla.1991) (there exists no definite standard as to the size a
    given class must attain in order to satisfy Rule 23(a)(1)). While there is no fixed rule, a class


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    size less than twenty-one is typically considered inadequate, while a class size of more than
    forty is generally adequate. Cheney v. Cyberguard Corp., 213 F.R.D. 484, 489-90 (S.D. Fla.
    2003) (citing Cox v. Am. Cast Iron Pipe Co., 784 F.2d 1546, 1553 (11th Cir. 1986)).
           The number of class members, however, is not the determinative factor for
    establishing numerosity. Since the focus under Rule 23(a)(1) is on whether joinder of all
    members is practicable in view of the numerosity of the class, courts must consider a number
    of relevant factors, such as the geographic diversity of the class members, the nature of the
    action, the size of each plaintiff's claim, judicial economy and the inconvenience of trying
    individual lawsuits, and the ability of the individual class members to institute individual
    lawsuits. See Zeidman v. J. Ray McDermott & Co., Inc., 651 F.2d at 1038; See also Kreuzfeld A.G.
    v. Carnehammar, 138 F.R.D. at 599.
           Petitioners are filing on behalf of a putative class of approximately 1400 individuals.
    nIn addition to the large number of members here, the class is also geographically dispersed
    across different counties in South Florida—detainees are being held in three ICE detention
    centers. The size and geographical diversity of the class renders joinder of all members
    impracticable. Gentry v. C & D Oil Co., 102 F.R.D. 490 (W.D.Ark. 1984) (joinder was
    impracticable where potential class members were located throughout a number of counties).
    For these reasons, the Court finds that the numerosity requirement of Rule 23(a)(1) has been
    met.

                        b.       Commonality

           The second prerequisite of Rule 23(a) requires that there be questions of law or fact
    common to the class. This prerequisite does not require that all of the questions of law or fact
    raised by the case be common to all the plaintiffs. See Cox v. American Cast Iron Pipe Co., 784
    F.2d 1546, 1557 (11th Cir.1986), cert. denied, 479 U.S. 883 (1986); See also Haitian Refugee
    Center, Inc. v. Nelson, 694 F.Supp. 864, 877 (S.D.Fla.1988), affirmed, 872 F.2d 1555 (11th
    Cir.1989). However, commonality “requires at least one question common to all of the class
    members, the answer to which is “apt to drive the resolution of the litigation.” Money v,
    Pritzker, Nos. 20-cv-2093, 20-cv-2094, 2020 WL 1820660, at *14 (N.D. Ill. Apr. 10, 2020)
    (internal citation omitted). “Commonality [also] requires the plaintiff to demonstrate that the
    class members have suffered the same injury.” Dukes, 564 U.S. at 350. The common

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    contention of injury “must be of such a nature that it is capable of class wide resolution—
    which means that determination of its truth or falsity will resolve an issue that is central to
    the validity of each one of the claims in one stroke.” Id.
            Petitioners admit that there are “some factual differences between the class members
    claims.” (ECF No. 81 at 9). Nevertheless, Petitioners assert that the commonality requirement
    is a low threshold, which is satisfied here because controlling questions of law and fact are
    common to the entire class-- whether ICE has been deliberately indifferent to the risk that
    people detained at Krome, BTC, and Glades will contract COVID-19 due to the unhygienic
    conditions and an inability to protect themselves through social distancing and ICE’s failure
    to implement its Alternatives to Detention Program. (Id. at 9-12.) Petitioners further argue
    that given how viruses spread, that deliberate indifference applies uniformly to all people in
    ICE custody at the three facilities at issue here. (Id.) Petitioners also assert that ICE’s
    uniformly unsanitary practices and its consistent refusal to follow CDC Guidelines at Krome,
    BTC, and Glades expose each class member to the same “substantial risk of serious harm.”
    (Id.)
            ICE asserts that the Motion should be denied because Petitioners have not satisfied
    the commonality requirement due to the “dissimilarities within the proposed class.” (ECF
    No. 92 at 6.) ICE points to the fact that each of the three facilities has a different physical
    plant, configuration, as well as capacity for detaining individuals. (Id.) ICE also argues that
    the Court cannot resolve claims central to each class member because whether a particular
    detainee’s living arrangement meets CDC Guidelines, or demonstrates a lack of deliberate
    indifference, will depend upon an individualized determination. Thus, ICE contends that this
    is not a resolution of a claim central to each class member’s claim “in one stroke.” (Id.)
            Petitioners claim entitlement to a comprehensive response to the pandemic. However,
    the Court observes that the relief sought by Petitioners is particularized and necessarily
    requires an individualized assessment of each detainees’ vulnerabilities to COVID-19, as well
    as an individualized assessment as to each detainee’s eligibility for release. It is feasible that
    at least some petitioners will be denied release. But, Petitioners also allege a course of
    common conduct, which includes failure to implement adequate precautionary measures and
    protocols, lack of access to hygiene products, health products, education, testing, and personal
    protective equipment, and most important, social distancing has not been achieved. (ECF No.

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    123 at 44.) The Petitioners share two main legal questions—whether ICE’s conduct at the
    three detention centers amount to deliberate indifference and expose detainees to substantial
    risk of harm, and whether such conduct results in conditions of confinement that violate
    Petitioners constitutional rights. See Wal-Mart, 564 U.S. at 350 (commonality does not require
    perfect uniformity.) The existence, scope, and adequacy of those measures are central to all
    Petitioners’ claims.
           The Court finds that Petitioners have met the commonality requirement of 23(a)(2)
    only with respect to their conditions of confinement claim.

                           c.    Typicality

           Under this third requirement of Rule 23(a), the named plaintiffs must present claims
    that are typical of the claims of the class. The typicality requirement centers on the
    relationship between the proposed class representatives and the other members of the class.
    Ibrahim v. Acosta, 326 F.R.D. 696, 700 (S.D. Fla. 2018). The named plaintiffs’ claims are
    typical if they stem from the same event, practice, or course of conduct that forms the basis of
    the class claims and are based upon the same legal or remedial theory. Walco Investments, 168
    F.R.D. at 326 (internal citations omitted).
           To meet the typicality requirement, the named plaintiffs must demonstrate that the
    members of the class have the same or similar grievances as themselves. Id. In other words,
    the named representatives must be able to establish the bulk of the elements of each class
    members’ claims when they prove their own claims. See General Telephone Company of
    Southwest v. Falcon, 457 U.S. 147 (1982).
           In the instant case, Petitioners allege that they’ve suffered the same injury because
    they’re subject to the same confinement under the same unconstitutional conditions caused
    by the same entity, which is exposing them all to an unreasonable heightened risk of serious
    illness. (ECF No. 123 at 44.) These failures result in punitive conditions of confinement.
           The Court finds that Petitioners have met the typicality requirement of 23(a)(3) only
    with respect to their conditions of confinement.




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                        d.        Fair and Adequate Representation

           The final prerequisite of Rule 23(a) requires a showing that the representative parties
    will fairly and adequately protect the interests of the class. Fed. R. Civ. P. 23(a)(4); Walco
    Investments, 168 F.R.D.at 327. Adequacy of the representation is a question of fact that
    depends on the assessment of two factors: “(1) whether plaintiffs’ counsel are qualified,
    experienced, and generally able to conduct the proposed litigation and . . . (2) whether
    plaintiffs have interests antagonistic to those of the rest of the class.” See Cheney v. Cyberguard
    Corp., 213 F.R.D. 484, 496 (S.D. Fla. 2003) (quoting Kirkpatrick v. J.C. Bradford & Co., 827
    F.2d 718, 726 (11th Cir. 1987)).
           In determining whether a proposed class representative will adequately protect the
    interests of the class, the Court asks whether the proposed class representatives and their
    counsel have any conflicts of interest with any class members and whether the proposed class
    representatives and their counsel will prosecute the action vigorously on behalf of the class.
    Hanlon v. Chrysler Corp., 150 F.3d 1011, 1020 (9th Cir. 1998).
           ICE has not challenged the adequacy of Petitioners’ counsel. The Court notes that
    Petitioners’ counsel have extensive experience in representing clients in class action suits
    throughout the United States.36 There is no indication of a disqualifying conflict of interest.
    Accordingly, the Court is satisfied that Petitioners’ counsel and the proposed class
    representatives will fairly and adequately represent the interest of the class as to conditions of
    confinement.

            iii.   Rule 23(b)

           Having determined that the Petitioners have met the four prerequisites of 23(a), the
    Court must consider whether the class also satisfies one of the three provisions of Rule 23(b).
    In this action, Petitioners seek certification under Rule 23(b). Rule 23(b) sets out two
    requirements for the maintenance of a class action: (i) questions of law or fact common to the
    members of the class must predominate over any questions affecting only individual


    36
       The proposed class counsel are King & Spalding LLP, the Immigration Clinic at the
    University of Miami School of Law, the Rapid Defense Network (a New York State nonprofit
    legal services organization), Prada Urizar, LLC, the Southern Poverty Law Center,
    Americans for Immigrant Justice, and the Legal Aid Service of Broward County.
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    members; and (ii) a class action must be superior to other available methods for the fair and
    efficient adjudication of the controversy at hand. Fed. R. Civ. P. 23(b)(3).
           To certify a class under Rule23(b)(2), the Court must first find that common issues of
    law or fact predominate over individual issues. The critical inquiry is “whether class members
    seek uniform relief from a practice applicable to all of them.” Rodriguez I, 591 F.3d at 1125-26
    (9th Cir. 2010) (internal citation and quotation marks omitted) (finding certification under
    Rule 23(b)(2) proper where “proposed members of the class each challenge Respondents’
    practice of prolonged detention of detainees without providing a bond hearing and seek as
    relief a bond hearing with the burden placed on the government”).
           Because ICE’s actions and inactions apply to the class generally, the Court determines
    that Rule 23(b)(2)’s requirements are satisfied. Parsons v. Ryan, 754 F.3d 657, 689 (9th Cir.
    2014) (finding Rule 23(b)(2) satisfied where the state department of corrections established
    policies and practices that placed “every inmate in custody in peril” and all class members
    sought essentially the same injunctive relief). In addition, it would be extremely inconvenient
    and a waste of valuable judicial resources to try several hundred individual lawsuits.
           The Court finds that class certification is appropriate.

       B. Preliminary Injunction

           The Court now considers whether a preliminary injunction is appropriate here. A
    preliminary injunction is an “extraordinary and drastic remedy,” and a party seeking the relief
    bears the “burden of persuasion” to clearly establish all four prerequisites. Wreal, LLC v.
    Amazon.com, Inc., 840 F.3d 1244, 1247 (11th Cir. 2016) (citing Siegel v. LePore, 234 F.3d 1163,
    1176 (11th Cir. 2000)); accord Levi Strauss & Co. v. Sunrise Int’l Trading Inc., 51 F.3d 982, 985
    (11th Cir. 1995). However, districts courts are empowered with broad equitable power—
    particularly in these uncertain times-- to grant a remedy that may present the only adequate
    remedy. See Swann v. Charlotte-Mecklenburg Bd. Of Educ., 402 U.S. 1, 15-16 (1971) (“Once a
    right and a violation have been shown, the scope of a district court’s equitable powers to
    remedy past wrongs is broad, for breadth and flexibility are inherent in equitable remedies.”).
           Prison health is public health. In the face of a pandemic that has claimed over 100,000
    lives in America, the Court finds that Petitioners are likely to succeed on the merits of one or
    more of their claims, will suffer irreparable harm as a result of the deprivation of their rights,

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    and that the balance of equities and public interest heavily weigh in favor of granting
    preliminary relief.37

             i.    Success on the Merits

           Petitioners assert three claims: (1) Fifth Amendment violation (violation of detention
    standards), (2) Fifth Amendment and Eighth Amendment violations (violation of right to
    reasonable safety), and (3) Fifth Amendment violation (state-created danger).
           Immigration detainees, like the Petitioners here, are subject to the same rights as civil
    detainees. Mehmood v. Guerra, 783 F. App’x 938, 941 (11th Cir. 2019) (holding that the district
    court improperly classified immigration detainee as a prisoner rather than as a civil detainee).
    And civil detainees are afforded “more constitutional protection, more considerate treatment,
    and conditions of confinement than criminals whose conditions of confinement are designed
    to punish.” Youngberg v. Romeo, 457 U.S. 307, 321-22 (1982). The Government may not
    impose on civil detainees conditions that would violate a convicted prisoner’s Eighth
    Amendment rights. See Hamm v. DeKalb Cty., 774 F.2d 1567, 1573-74 (11th Cir. 1985) (citing
    City of Revere v. Mass. Gen. Hosp., 463 U.S. 239, 244 (1983) (“[T]he due process rights of a
    [pretrial detainee] are at least as great as the Eighth Amendment protections available to a
    convicted prisoner.”).


    37
      Several district courts across the country have ordered the release of § 2241 alien detainee-
    petitioners, explaining that pressing health risks of COVID-19 combined with ICE detention
    necessitate release. See , e.g. Castillo v. Barr, No. 20-cv-00605, 2020 WL 1502864 (C.D. Cal.
    March 27, 2020) (releasing petitioners and granting petitioners’ application for a TRO because
    “[u]nder the Due Process Clause, a civil detainee cannot be subject to the current conditions
    of confinement at Adelanto” even though there had been no confirmed cases reported at the
    facility); Roman v. Wolf, No. 20-cv-00768, 2020 U.S. Dist. LEXIS 72080 (C.D. Cal. Apr. 23,
    2020)(granting immigration detainees’ § 2241 petition for preliminary injunction and
    releasing them); Essien v. Barr, No. 20-cv-1034-WJM, 2020 U.S. Dist. LEXIS 72422 (D.Co.
    Apr. 24, 2020)(granting immigration detainee’s § 2241 petition for preliminary injunction and
    releasing 55-year old petitioner who suffered from hypertension even though there were no
    confirmed COVID-19 cases at the immigration detention center); Malam v. Adducci, No. 20-
    cv-10829, 2020 U.S. Dist. LEXIS 59407 (E.D. Mich. Apr. 5, 2020)(granting TRO and
    releasing habeas petitioner because she was “likely to succeed on the merits of her claim that
    her continued confinement during the COVID-19 pandemic violates her Fifth Amendment
    rights.”)



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           The minimum standard of care to be provided to civil detainees under the Due Process
    Clause of the Fifth Amendment is the same as that allowed by the Eighth Amendment for
    convicted persons. Hamm, 774 F.2d at 1574; see also Bell v. Wolfish, 441 U.S. 520, 535 n. 16
    (1979) (holding that the Due Process rights of a civil detainee are at least as great as the Eighth
    Amendment protections available to a convicted prisoner). The Due Process Clause similarly
    “imposes a duty on state actors to protect or care for citizens when the state affirmatively
    places a particular individual in a position of danger the individual would not otherwise have
    faced.” Gregory v. City of Rogers, Ark, 974 F.2d 1006, 1010 (8th Cir. 1992) (en banc).
           The Eighth Amendment prohibits the infliction of cruel and unusual punishment.
    Robinson v. California, 370 U.S. 660 (1962). Under that provision, the Government may not
    impose punishments that shock the conscience, involve unnecessary and wanton infliction of
    pain, offend evolving notions of decency, or are grossly disproportionate to the offense for
    which they are imposed. See Estelle v. Gamble, 429 U.S. 97, 102-03 (1976); Gregg v. Georgia, 428
    U.S. 153, 173 (1976); Trop v. Dulles, 356 U.S. 86, 101 (1958). Various conditions, “alone or in
    combination, may deprive inmates of the minimal civilized measure of life’s necessities. Such
    conditions could be cruel and unusual under the contemporary standard of decency.” Rhodes
    v. Chapman, 452 U.S. 337, 347 (1981). On that basis, courts have held that government actors
    violate the Eighth Amendment when they are deliberately indifferent to a detainee’s serious
    medical needs. See, e.g. Estelle, 429 U.S. at 106.

                         a.       Deliberate Indifference to Medical Needs

           Deliberate indifference to serious medical needs of prisoners “constitutes unnecessary
    and wanton” infliction of pain proscribed by the Eighth Amendment. Estelle, 429 U.S. at 104.
    To state a cognizable claim, a detainee must allege acts or omissions sufficiently harmful to
    evidence deliberate indifference to serious medical needs. It is only such indifference that can
    offend “evolving standards of decency” in violation of the Eighth Amendment. Estelle, 429
    U.S. at 106.
           To prove deliberate indifference in violation of Eighth Amendment, a detainee must
    satisfy three burdens. First, the detainee must satisfy the objective component by showing that
    she had a serious medical need. Bozeman v. Orum, 422 F.3d 1265, 1272 (11th Cir.2005) (per
    curiam). Second, the detainee must satisfy the subjective component by showing that ICE

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    officials acted with deliberate indifference to the serious medical need. Id. Third, the detainee
    must show that the injury was caused by ICE’s wrongful conduct. See Goebert v. Lee Cty., 510
    F.3d 1312, 1326 (11th Cir. 2007) (citing Hale v. Tallapoosa County, 50 F.3d 1579, 1582 (11th
    Cir.1995).
           Determining whether one had a serious medical need is an objective inquiry. A
    medical need satisfies the objective component when it “is one that has been diagnosed by a
    physician as mandating treatment or one that is so obvious that even a lay person would easily
    recognize the necessity for a doctor’s attention.” Id. While most cases are mild, COVID-19
    has proven itself to be lethal in the most severe cases, with some portion of the infected
    expected to require either a ventilator or other intravenous treatment. (Greer Decl. ¶20.)
    Further, although experts agree that the most vulnerable demographics are the elderly or those
    with underlying medical conditions, COVID-19 attacks all age groups indiscriminately and it
    is impossible to determine who will succumb to the illness. It is possible that if Petitioners
    contract the disease, at least some of them will require a doctor’s attention. Helling v.
    McKinney, 509 U.S. 25, 33 (1993) (“It would be odd to deny an injunction to inmates who
    plainly proved an unsafe, life-threatening condition in their prison on the ground that nothing
    yet had happened to them.”) Petitioners have satisfied the objective component of the
    deliberate indifference test.
           A medical need satisfies the subjective component when a plaintiff shows (1) subjective
    knowledge of a risk of serious harm; (2) disregard of that risk; (3) by conduct that is more than
    negligence.” Goebert, 510 F.3d at 1327. Here, it’s hard to imagine that ICE is unaware of the
    risk of serious harm involved in contracting COVID-19. Indeed, ICE’s conduct—creating a
    set of guidelines and recommendations specifically addressing the pandemic—at least
    impliedly acknowledges a risk of serious harm.
           As previously noted, the CDC’s Guidelines are clear that that transfers should be
    avoided or restricted and utilized as a last resort “unless necessary for medical evaluation,
    medical isolation/quarantine, clinical care, extenuating security concerns, or to prevent
    overcrowding.” (CDC’s Guideline at 9.) The CDC’s Guidelines further state that individuals
    with confirmed cases should be restricted from leaving detention facilities “unless released
    from custody or if a transfer is necessary for medical care, infection control, lack of medical
    isolation space, or extenuating security concerns.” (Id. at 17.) The CDC Guidelines also state

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    that to the extent that a transfer is “absolutely necessary,” ICE is to “perform verbal screening
    and a temperature check as outlined in the [CDC Guidelines] before the individual leaves the
    facility.” (Id. at 9.) If an individual does not clear the screening process, ICE is expected to
    “delay the transfer and follow the protocol for a suspected COVID-19 case— including
    putting a face mask on the individual, immediately placing them under medical isolation38,
    and evaluating them for possible COVID-19 testing.” (Id.) And “[i]f the transfer must still
    occur, ensure that the receiving facility has capacity to properly isolate the individual upon
    arrival.” (Id.)
            ICE’s PRR similarly states, “[w]here possible, restrict transfers of detained non-ICE
    populations to and from other jurisdictions and facilities unless necessary for medical
    evaluation, isolation/quarantine, clinical care, or extenuating security concerns.” (PRR at
    13.) ICE has submitted to the Court that it has created checklists utilized to evaluate each
    detainee.
            Yet, the Court has been presented with declarations and live testimony claiming that
    ICE continues to flout this Court’s Order by (1) failing to consistently evaluate detainees for
    COVID-19 before transferring them to other detention centers, 39 (2) failing to provide
    protective masks during the transfer process; and (3) failing to provide meaningful access to
    hygiene products soap, hand sanitizers, masks, gloves and cleaning supplies. (ECF Nos.106;
    106-2.).


    38
       Medical isolation is not the equivalent of quarantining. Rather, medical isolation “refers to
    confining a confirmed or suspected COVID-19 case (ideally to a single cell with solid walls
    and a solid door that closes), to prevent contact with others and to reduce the risk of
    transmission.” (CDC Guidelines at 3.)
    39
       ICE openly admits that testing at some of the detention centers are limited. (ECF No. 33-1
    ¶15.) The Court is well aware that testing capabilities is limited nationwide. However, since
    the introduction of COVID-19, experts have developed antibody tests which effectively
    demonstrate whether an individual ever contracted the disease in the past. To the Court’s
    knowledge, such antibody tests are more readily available and accessible than COVID-19
    tests. Accordingly, the Court speculates that ICE may utilize such antibody tests in making a
    thorough assessment about a detainee’s COVID-19 status, which may in turn inform whether
    a detainee should be transferred. While unproven, experts believe that people who have
    contracted the disease retain at least some immunity to the virus for a period of time.
    https://www.livescience.com/covid-19-immunity.html. Presumably, detainees who test
    positive for COVID-19 antibodies may have acquired immunity which would make them a
    candidate for transfer.
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           At the June 3, 2020, Hearing Mr. Borges provided testimony about his lived experience
    with ICE’s transfer process. Mr. Borges testified that he was not tested for COVID-19 before
    he was transferred from BTC to Stewart Detention Center (“Stewart”) in Georgia. He also
    testified that he was not processed at Stewart upon arrival. Rather, he was almost immediately
    transferred back to BTC. He was not tested before he was transferred from Stewart back to
    BTC. Mr. Borges also testified that he was not provided a mask during the transfer process,
    so he used the same mask, soiled from two days of wear, before his transfer from BTC to
    Stewart. Mr. Borges wore the same mask when he was transferred back to BTC. Disturbingly,
    guards did not wear masks during Mr. Borges’ transfer process. Indeed, the ICE guard that
    escorted Mr. Borges to the Hearing was not donning a mask, despite being seated a mere two
    feet away from Mr. Borges. Such behavior not only violates the spirit and the letter of TRO,
    it also amounts to deliberate indifference because it demonstrates a blameworthy disregard of
    the risks posed by COVID-19 by exponentially increasing the risk of spreading the virus to
    other detention centers 40—conduct that far exceeds mere negligence and evidences a reckless
    state of mind. ICE does not test all detainees before transferring them because it doesn’t have
    enough tests to do so. (ECF No. 63 at 37.) Instead, ICE only tests people who display
    symptoms (Id.)—which may have resulted in the transfer of some detainees who are
    asymptomatic but still carry the virus. In fact, media reports state that an increase in COVID-
    19 cases across all three detention centers largely correlates with the increase in ICE transfers
    during the pandemic. 41
           Congress conferred broad discretionary authority to the Attorney General of the
    United States, to determine the places of detention for aliens detained pending removal or a
    decision on removal. 8 U.S.C. § 1232(g)(1). The same authority is conferred to ICE by
    extension. CallaCollado v. Atty. General, 663 F.3d 680 (3rd Cir. 2011). However, ICE’s
    authority is not absolute. District Courts are granted authority to review agency action and
    hold unlawful and set aide agency action found to be “arbitrary, capricious, an abuse of
    discretion or otherwise not in accordance with the law.” 5 U.S.C. § 706(2)(a). Transferring


    40
       Such conduct could also have some ramifications for the public at large because staff or
    visitors may unwittingly carry the virus back into their communities.
    41
       https://www.sun-sentinel.com/coronavirus/fl-ne-coronavirus-numbers-spike-at-broward-
    ice-facility-20200520-v62esjzwxrhn7pfjekta3ldegi-story.html
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    detainees without first screening them for COVID-19 or providing any protective equipment
    is not only a violation on ICE’s authority, it is a violation of Petitioners’ constitutional rights.
           Further, the CDC’s Guidelines state that the practice of cohorting should be utilized
    “only if there are no available options.” (CDC’s Guideline at 15.) Both the CDC’s Guidelines
    and ICE’s PRR state, “[o]nly individuals who are laboratory confirmed COVID-19 cases
    should be placed under medical isolation as a cohort. Do not cohort confirmed cases with
    suspected cases or case contacts.” (Id. at 16; PRR at 14.) Despite the fact that its own
    Guidelines call for detention facilities to avoid group cohorting, ICE flagrantly flouts its own
    rules on the subject and groups asymptomatic 42 detainees together. ICE admits that it is
    currently cohorting 320 detainees at Glades—the entire detainee population—“as a
    precautionary measure, per the established protocol.” On June 3, 2020, Mr. Borges testified
    that upon transferring back to BTC, he was quarantined for 14 days. During his quarantine
    he was taken to recreation at the same time as individuals known to be sick with COVID-19.
    Such practices substantially increase a detainee’s exposure to COVID-19. And ICE’s failure
    to comply with its own Guidelines, which explicitly acknowledges the risks involved in
    cohorting in the manner described herein is further evidence of deliberate indifference.
           ICE’s submissions to the Court establish that ICE considers a sizeable portion of its
    population to be mandatory detainees. However, 25.9% of the detainee’s ICE classifies as
    mandatory detainees have no conviction or pending charges. (ECF No. 142 at p.60.) Notably,
    ICE does not claim mandatory detention for 23.3% of the populations across all three
    detention centers. (Id. at p.58.) But ICE has not released such individuals and has not provided
    any explanation as to why. Moreover, ICE’s conduct flies in the face of directives from
    Attorney Gen. William Barr to the Federal Bureau of Prisons urging the prioritization of
    home confinement, noting “[w]e have to move with dispatch . . . to move vulnerable inmates
    out of these institutions.” 43 Under such directives, 44 ICE would be expected to make


    42
       It is unclear to the Court how ICE manages to determine which detainees are asymptomatic
    considering that COVID-19 tests are limited and ICE has stated that it only tests detainees for
    COVID-19 if they display symptoms. (ECF No. 63 at 37.)
    43
       April 3, 2020 Memorandum of Hon. W. Barr to the Director of Bureau of Prisons, at 1.
    44
       Although Mr. Barr’s Memorandums are directed to the Federal Bureau of Prisons, ICE’s
    guidelines contain specific standards that mirror Mr. Barr’s directives with respect to which
    detainees should be immediately released.
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    meaningful utilize its “Alternatives to Detention Program” by determining who among the
    23.3% can be released to alternative confinement. Petitioners have satisfied the subjective
    component of the deliberate indifference test.
           Pursuant to the PRR, ICE is tasked with maintaining social distancing among
    detainees, (PRR at 14), providing each detainee with hygiene products, (PRR at 8), and
    providing each detainee with masks, (PRR at 9) 45. Credible testimony and sworn declarations
    filed in this matter after the issuances of the TRO suggest that ICE has only partially complied
    with its own directives or CDC Guidelines despites its submissions to the Court and paint a
    grim picture of an agency steeped in deliberate indifference. “During a pandemic, such as
    this, it is likely punitive for a civil detention administrator to fail to mandate compliance with
    widely accepted hygiene, protective equipment, and distancing measures until the peak of the
    pandemic.” Fraihat v. U.S. Immigration & Customs Enf’t, No. EDCV 19-1546 JGB (C.D. Cal.
    Apr. 20, 2020), ECF No. 132, at 34.
           Petitioners are likely to succeed on their Fifth Amendment and Eighth Amendment
    claims.

              ii.   Likelihood of Irreparable Harm

           The Court now turns to whether the Petitioners have established irreparable harm. A
    plaintiff must demonstrate she is likely to suffer irreparable harm in the absence of a
    preliminary injunction. Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). The
    showing of irreparable harm is “[p]erhaps the single most important prerequisite for
    the issuance of a preliminary injunction. . .that if. . .not granted the applicant is likely to
    suffer irreparable harm before a decision on the merits can be rendered.” Great Am. Ins. Co. v.
    Fountain Eng’g, Inc., No. 15-CIV-10068-JLK, 2015 WL 6395283, at *3 (S.D. Fla. Oct. 22,
    2015). In addition, the asserted irreparable harm must be “neither remote nor speculative, but
    actual and imminent.” Siegel v. LePore, 234 F.3d 1163, 1176 (11th Cir. 2000).



    45
      The Court recognizes that the PRR does not explicitly mandate that ICE provide detainees
    with masks. However, the Court interprets the PRR’s directive that “cloth face coverings
    should be worn by detainees and staff (when PPE supply is limited) to help slow the spread
    of COVID-19,” (PRR at 9), implies such mandate because detainees are not in a position to
    freely procure masks for themselves given their detention.
                                                       33
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           To demonstrate irreparable harm, a movant must show “that the injury cannot be
    undone through monetary remedies.” Winmark Corp. v. Brenoby Sports, Inc., 32 F.Supp.3d
    1206, 1223 (S.D.Fla.2014). “It is well established that the deprivation of constitutional rights
    ‘unquestionably constitutes irreparable injury.’” Elrod v. Burns, 427 U.S. 347, 373 (1976)).
           Petitioners establish irreparable harm by alleging a deprivation of constitutional rights.
    The “alleged violation of a constitutional right ... triggers a finding of irreparable harm,” Jolly
    v. Coughlin, 76 F.3d 468, 482 (2d Cir. 1996). Here, Petitioners allege that their substantive and
    procedural due process rights have been violated. Accordingly, “no further showing of
    irreparable injury is necessary.” Mitchell v. Cuomo, 748 F.2d 804, 806 (2d Cir. 1984) (“When
    an alleged deprivation of a constitutional right is involved, most courts hold that no further
    showing of irreparable injury is necessary.”).
           Petitioners have established they will suffer the irreparable harm of increased
    likelihood of severe illness and death if a preliminary injunction is not entered. The
    Constitution protects those in detention against “a condition of confinement that is sure or
    very likely to cause serious illness and needless suffering the next week or month or year.”
    Helling v. McKinney, 509 U.S. 25, 33 (1993) (“It would be odd to deny an injunction to inmates
    who plainly proved an unsafe, life-threatening condition in their prison on the ground that
    nothing yet had happened to them.”); see also W. Alabama Women’s Ctr. v. Miller, 217 F. Supp.
    3d 1313, 1334 (M.D. Ala. 2016) (recognizing that increased risk of medical complications
    constitutes irreparable harm.); Unknown Parties v. Johnson, 2016 WL 8188563, at *15 (D. Ariz.
    No. 18, 2016), aff’d sub nom Doe v. Kelly, 878 F.3d 710 (9th Cir. 2017) (finding evidence of
    “medical risks associated with . . . being exposed to communicable diseases” adequate to
    establish irreparable harm).
           Even in the early days of the pandemic, and with few exceptions, courts did not
    hesitate to find irreparable harm as a result of potential COVID-19 exposure in prison and
    detention, including in facilities where there had not been a confirmed case.46 At this stage of


    46
      See ,e.g. Basank v. Decker, _ F. Supp. 3d_, No. 20-cv-2518, 2020 WL 1481503 (S.D.N.Y. Mar.
    26, 2020) (granting TRO and releasing alien detainee § 2241 petitioners on their own
    recognizance who suffered from serious chronic medical conditions and were detained in
    connection with their removal proceedings in county jails where cases of COVID-19 had been
    identified); Coronel v. Decker, _ F. Supp. 3d_, No. 20-cv-2472, 2020 WL 1487274 (S.D.N.Y.
    Mar. 27, 2020) (granting TRO and releasing alien detainee § 2241 petitioners who
                                                       34
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    the pandemic, the threat is even clearer. As previously noted, the number of COVID-19 cases
    within each detention center at issue has risen, especially with the aggressive utilization of
    transfers—evidence that there truly is a heightened risk of contracting the disease within the
    detention centers. ICE does not argue that COVID-19 poses serious risk to detainees. Rather,
    ICE asserts that the Court should respect its unfettered authority to manage and maintain the
    detention centers.47 The Court reminds ICE that it has not made any efforts to usurp its role
    in the administration of detention centers. Rather, the Court has ordered that ICE follow its
    own guidelines in its management of the pandemic within detention centers. ICE reports that
    it has complied with the TRO in this regard. Still, there are credible reports from the
    Petitioners stating otherwise. (ECF No. 106-2.)

            iii.   Balance of the Equities and Public Interest

           Where the government is the opposing party, balancing of the harm and the public
    interest merge. See Nken v. Holder, 556 U.S. 418, 435 (2009). Thus, the Court asks whether
    any significant “public consequences” would result from issuing the preliminary injunction.
    Winter, 555 U.S. at 24.
           The balance of the equities weighs in favor of granting an injunction. The Petitioners
    face irreparable harm to their constitutional rights and health. Indeed, there is no harm to the
    Government from engaging in unlawful practices. Fraihat, 2020 WL 1932570, at *28 (C.D.
    Cal. Apr. 20, 2020) (“The balance of equities sharply incline in Plaintiffs’ favor. ‘It is always
    in the public interest to prevent the violation of a party’s constitutional rights.’”) (citation
    omitted); Hernandez Roman v. Wolf, 2020 WL 1952656, at *12 (C.D. Cal. Apr. 23, 2020) (“The
    balance of equities, here, tip sharply in favor of the class members; the class members


    demonstrated a likelihood of success on claim government’s actions constituted deliberate
    indifference to their medical needs which predisposed them to higher risk of COVID-19; Kaur
    v. United States Dep’t of Homeland Sec., No. 2:20-cv-03172-ODW, 2020 U.S. Dist. LEXIS 71228
    (C.D. Cal. Apr. 22, 2020) (granting TRO and releasing alien detainee § 2241 petitioners who
    demonstrated a likelihood of success on their due process claim); Durel B. v. Decker, No. 20-
    cv-3430, 2020 U.S. Dist. LEXIS 69220 (D.N.J. Apr. 21, 2020) (granting TRO and releasing
    2241 immigration detainee petitioner); Leandro R. P. v. Decker, 2020 U.S. Dist. LEXIS 67607
    (D.N.J. Apr. 17, 2020) (same); Jason Anthony W. v. Anderson, 2020 U.S. Dist. LEXIS 69562
    (D.N.J. Apr. 17, 2020) (same).
    47
       It is true that ICE is granted broad authority to act, however, ICE may not use its powers
    to act in an arbitrary and capricious manner.
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    face irreparable harm to their constitutional rights and health. The Government is not
    harmed when a court prevents the Government from engaging in unlawful practices.”).
       C. Motion to Compel

           Petitioners maintain ICE is merely “shuffling people around the country to make the
    population statistics at Krome, Glades, and BTC look better on paper.” Rather than releasing
    detainees under its Alternatives to Detention Program. (ECF No. 106 at 2.) Petitioners assert
    that ICE conducts the transfers in highly unsanitary conditions and that detainees are then
    deposited into conditions that are at least as bad or worse than the conditions this Court
    outlined on April 30. (Id.) Petitioners allege that ICE’s conduct is an effort to destroy this
    Court’s jurisdiction over the detainees they have transferred. (Id. at 3.)
           Conversely, ICE takes the position that it has complied with this Court’s TRO by (1)
    providing adequate soap, water, and masks to all detainees, and (2) meeting all the reporting
    requirements pursuant to the Court’s Order. (ECF No. 116 at 2-3.)
           ICE further maintains that in an effort comply with the Court’s TRO, ICE reduced its
    population size at the three detention centers by properly exercising its discretion in
    transferring detainees to other locations pursuant to 8 U.S.C. §1252. (Id. at 3-5.) ICE cites to
    CallaCollado v. Atty. General, 663 F.3d 680 (3rd Cir. 2011), stating, “the Third Circuit observed
    that as a part of DHS, ICE ‘necessarily has the authority to determine the location of
    detention of an alien in deportation proceedings … and therefore, to transfer aliens from one
    detention center to another.’” (Id. at 4.) ICE alleges that it not only evaluates each detainee
    before transferring them, it has also evaluated every detainee at each detention facility. (Id. at
    5-6) ICE also states that it uses a checklist prior to any transfer “ICE reviews the detainee’s
    medical history and obtains a medical clearance.” (Id. at 7.) ICE admits that detainees
    transferred from Krome to BTC tested positive for COVID-19. (Id.) However, ICE does not
    believe any of its practices led to the increase in cases because ICE isolates new transfers for
    a 14-day period and because detainees are given masks during the transportation process. (Id.)
    Further, while ICE stands by its reporting that it evaluated each detainee’s eligibility for
    release, ICE argues it is not obligated to create a detailed analysis to support its decision not
    to release a particular detainee, nor is it required to provide a detailed explanation as to why
    a particular detainee is transferred. (Id. at 10-11.) ICE notes that it has grievance procedures


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    in place that detainees may utilize and that the Court should defer to ICE’s judgment in its
    efforts to manage its facilities during the pandemic. 48
           ICE emphasizes that this Court lacks jurisdiction to review conditions of confinement
    at the locations to which detainees have been transferred. The Court disagrees. The Court
    maintains jurisdiction over all detainees in this action, even those who have been transferred
    outside of the state of Florida. Ahrnes v. Clark, 335 U.S. 188, 193 (1948) (stating, “jurisdiction
    of the District Court [is] not defeated [by transferring a habeas corpus petitioner to a different
    district and court], no matter how proper the motive behind the removal. . . in that situation
    the court can act as long as it can reach a person who has custody of the petitioner.”); see also
    Ex parte Mitsuye Endo, 323 U.S. 283, 306 (1944); Spears v. Thigpen, 846 F.2d 1327, 1328 (11th
    Cir. 1988) (finding that claims specific to facility were mooted by transfer but challenge to
    systemic use of segregation remained live where plaintiff remained in segregation after
    transfer).
           In sum, in this moment of worldwide peril from a highly contagious pathogen, the
    Court is not satisfied that ICE’s commitment to detention has meaningfully shifted since the
    start of the pandemic. Even with the TRO in place, Detainees report that (1) social distancing
    is still impossible, (2) education on the use and importance of masks is inconsistent, (3)
    transfers are conducted haphazardly, and (4) cohorting is conducted in a manner that
    substantially increases the risk of spread of the contagion.
           The Court is not persuaded by ICE’s argument that each detainee must individually
    file grievance reports regarding their conditions of confinement. (ECF No. 116 at 8.) The
    CDC estimates approximately 16 days between the onset of symptoms and death with an
    incubation period between 2 and 14 days. 49 Thus, it is unreasonable to expect detainees to




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       ICE raises this argument for the first time in its Response to the Motion to Compel. (ECF
    No. 116.)
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       Stephen A. Lauer, MS, PhD, The Incubation Period of Coronavirus Disease 2019
    (COVID-19) From Publicly Reported Confirmed Cases: Estimation and Application, Mar.
    10, 2020, https://annals.org/aim/fullarticle/2762808/incubation-period-
    coronavirusdisease-2019-covid-19-from-publicly-reported.
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    first engage ICE’s protracted grievance mechanisms. Accordingly, the Motion to Compel is
    GRANTED. 50

                                             IV.    CONCLUSION

            It is hereby ORDERED and ADJUDGED as follows:

         1. The Amended R&R on Petitioners’ Motion for Class Certification, ECF No. 123, is
            AFFIRMED and ADOPTED as the Order of this Court. It is hereby ORDERED and
            ADJUDGED that the Court now certifies the following class: All current civil
            immigration detainees who are now held by ICE at Krome, BTC, and Glades when
            this action was filed, since this action was filed, or in the future.
         2. Petitioners’ Emergency Motion for Temporary Restraining Order and Motion for
            Preliminary Injunction for Proposed Class and Incorporated, ECF No. 4, is
            GRANTED as a preliminary injunction as follows:
               a. ICE shall immediately comply with the CDC and ICE guidelines by providing
                    Petitioners and the class members with unrestricted access to hand soap, hand
                    sanitizer, and disposable hand towels to facilitate handwashing.
               b. Provide cleaning supplies for each housing area and CDC-recommended
                    disinfectants in sufficient quantities to facilitate frequent cleaning, including in
                    quantities sufficient for each inmate to clean and disinfect the floor and all
                    surfaces of his own housing cubicle, and provide new gloves and masks for each
                    inmate during each time they are cleaning or performing janitorial services.
               c.   Provide all inmates and staff members with masks and educate them on the
                    importance and proper use of masks.
               d. Increase regular cleaning and disinfecting of all common areas and surfaces,
                    including common-use items such as television controls, books, and gym and
                    sports equipment.
               e. Limit transportation of detainees to only instances regarding immediately
                    necessary medical appointments and release from custody.


     The Court understands that the TRO expires on June 5, 2020. However, because the TRO
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    has been converted to a Preliminary Injunction, ICE is expected to also comply with the
    Preliminary Injunction.
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             f. For transportation necessary for prisoners to receive medical treatment or be
                released, CDC-recommended social distancing requirements should be strictly
                enforced in buses, vans, and planes.
             g. Post signage and information in common areas that provides: (i) general
                updates and information about the COVID-19 pandemic; (ii) information on
                how inmates can protect themselves from contracting COVID-19; and (iii)
                instructions on how to properly wash hands. Among other locations, all
                signage must be posted in every housing area and above every sink.
             h. Educate inmates on the COVID-19 pandemic by providing information about
                the COVID-19 pandemic, COVID-19 symptoms, COVID-19 transmission,
                and how to protect oneself from COVID-19. A staff person at each detention
                center must give an oral presentation or show an educational video with the
                above-listed information to all detainees and give all detainees an opportunity
                to ask questions.
             i. ICE shall perform an internal review pursuant to ICE’s PRR and file with the
                Court weekly reports (every Friday by 4:00 P.M.) on the following:
                    i. The number of detainees who have been released;
                    ii. Which facility they were released from; and
                   iii. The nature of the detainee released (e.g., in a high-risk category because
                       of age or a specific, documented medical condition, etc.).
             j. Within ten (10) days of this Order, ICE shall submit weekly (every Monday by
                4:00 P.M.) reports on the following:
                    i. How many detainees it is housing on the date of reporting;
                    ii. At which of the three centers the detainees are being housed;
                   iii. Which of the detainees are considered “mandatory detainees”; and
                   iv. Which of the detainees have no prior criminal convictions and no
                       pending criminal charges.
      3. The Preliminary Injunction is in effect until a full trial in the matter and/or further
         order of the Court.
      4. Petitioners’ Motion to Compel Compliance with the Court’s April 30, 2020
         Temporary Restraining Order, ECF 106, is GRANTED as follows:

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             a. ICE is permitted to transfer detainees but only after performing a verbal
                screening and a temperature check as outlined in the CDC Guidelines before
                the individual leaves the facility.
             b. Within ten (10) days of this Order, ICE shall submit weekly Court
                documentation of its evaluations for release before any transfer is executed. The
                documentation must include an evaluation of each prospective transfer
                candidate for COVID-19.
             c. ICE must provide a new mask to each transferee before the transfer process
                begins.
      5. The Court shall retain jurisdiction over all class members who are transferred to other
         facilities regardless of where those facilities are located.
      6. ICE shall not engage in the practice of cohorting unless ICE confirms through testing
         or other means that a prospective cohort candidate is a confirmed COVID-19 case.

         DONE and ORDERED in chambers, at Miami, Florida, this 5th day of June 2020.




         Copies furnished to:
         Jonathan Goodman, U.S. Magistrate Judge
         Counsel of record




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